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UNITED STATES DISTRICT COURT
WESTERN DlSTRICT OF TEXAS
AUSTIN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

CIVIL ACTION NO.

AE.@@W@@BS SS

\’.

$58,700.00, MORE OR LESS,
IN UNITED STATES CURRENCY,
Defendant.

VV`_/V\'¢V\_/`_/

WARRANT FOR THE ARREST OF PROPERTY
TO THE DEPARTMENT OF TREASURY, INTERNAL REVENUE SERVICE OR OTHER
AUTHORIZED LAW ENFORCEMENT OFFICER OR ANY OTHER PERSON OR
ORGANIZATION AUTHORIZED BY LAW TO ENFORCE THE WARRANT:
WHEREAS a Verified Complaint for Forfeiture in rem was filed on January 19, 2016,
against the following Property:
$58,700.00 More or Less, in United States Currency
(hereinafter “Respondent Property”), alleging that the Respondent Property is subject to
forfeiture to the United States of Arnerica pursuant to 18 U.S.C. § 981(a)(l) and 21 U.S.C. §
881(a)(6) for violations of 18 U.S.C. § 1956 and 21 U.S.C. §§ 801 et seq., and
WHEREAS an Order has been entered by the United States District Court for the
Western District of Texas that a Warrant for Arrest of Property be issued as prayed for by
Petitioner United States of America,
YOU ARE THEREFORE COMMANDED to arrest the Respondent Property as soon as
practicable by serving a copy of this warrant on the custodian in whose possession, custody, or
control the Respondent Property is presently found, and to use whatever means may be

appropriate to protect and maintain the Respondent Property in your custody until further order

of this Court, including designating a substitute custodian or representative for the purposes of

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maintaining the care and custody of the Respondent Property and to make a return as provided

by law.

SIGNED this

clay of

, 2016.

 

JEANNETTE J. CLACK
United States Distriot Clerk
Western District of Texas

 

Deputy

